      9:20-cv-00376-RMG         Date Filed 09/16/20      Entry Number 30        Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
HENNA CARDENAS, Individually and              )
on behalf of all others similarly situated,   )   Case No.: 9:20-cv-376-RMG
                                              )
                             Plaintiff,       )   RULE 26(f) REPORT
                                              )
vs.                                           )
                                              )
RESORT SALES BY SPINNAKER,                    )
INC. and RESORT SALES MISSOURI,               )
INC.                                          )
                                              )
                            Defendants.       )


       The parties, having consulted pursuant to Rule 26(f), Fed. R. Civ. P., hereby report as
follows (check one below):
  _______      We agree that the schedule set forth in the Conference and Scheduling Order issued
               July 29, 2020 is appropriate for this case. The information required by Local Civil
               Rule 26.03 will be separately filed by the parties.

  _______      We agree that the schedule set forth in the Conference and Scheduling Order issued
               July 29, 2020 requires modification as set forth in the attached proposed Consent
               Amended Scheduling Order (use same format as the Court’s standard scheduling
               order attached hereto). The information required by Local Civil Rule 26.03 will
               be separately filed by the parties.

  ___ X___     We are unable, after consultation, to agree on a schedule for this case. Therefore,
               we request a scheduling conference with the Court. The parties’ proposed
               discovery plan as required by 26(f) Fed. R. Civ. P., with disagreements noted, and
               the information required by Local Civil Rule 26.03 will be separately filed by the
               parties.

  Attorneys for Plaintiff                         Attorneys for Defendants

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    9:20-cv-00376-RMG       Date Filed 09/16/20    Entry Number 30    Page 2 of 4




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      9:20-cv-00376-RMG           Date Filed 09/16/20       Entry Number 30         Page 3 of 4




             MEDIATION OF CASES PENDING BEFORE JUDGE GERGEL

Instructions: Complete this form and file with the joint Rule 26(f) Report.
Case Name:     Henna Cardenas v. Resort Sales by Spinnaker, Inc., et al.
C/A No.:       9:20-cv-376-RMG
1.     Would early mediation be useful in this case? If the answer is in the affirmative, when
       would you propose to conduct mediation in this matter?
RESPONSE:
         Plaintiff’s position: Plaintiff needs to know the identit(ies) of the entit(ies) who called her
on behalf of Defendants together with: (a) the way that/those entit(ies) claim they obtained prior
express consent to call Plaintiff, and (b) the total number of people called who supposedly
consented in the same way. Defendants control how quickly that information is provided. Instead,
they have proposed a bifurcated discovery schedule—where the Parties would first focus solely
on the Plaintiff’s individual claim—that accomplishes little more than needlessly delaying the
litigation and the disclosure of information needed to appropriately evaluate settlement consistent
with Plaintiff and her counsel’s duties to members of the as-yet uncertified class.
        Defendants’ position: Yes. At the conclusion of Plaintiff (only) merits discovery, if
bifurcated discovery is ordered by this Court. In response and contrary to Plaintiff’s position,
above, Defendants further state that they do not “control how quickly [] information is provided”
by non-party independent contractors. Defendants’ proposed Phase I topics of discovery, items 1-
6, set forth in Defendants’ Discovery Plan provide for discovery of non-party independent
contractors who may have made the alleged calls to Plaintiff. However, discovery in Phase I
should be limited to the merits of Plaintiff’s direct liability claims against Defendants since prior
discovery and a judicial decision in the District of New Jersey confirmed that neither Defendant
made the alleged calls to Plaintiff. If Plaintiff’s direct liability claims are dismissed following
Phase I, the scope of this case will be narrowed and the burden of unnecessary, time-consuming,
and costly discovery will be avoided.
2.     If early mediation is not thought to be useful, when is the earliest stage in which you
       believe it might be useful?
RESPONSE:
        Plaintiff’s position: See above for Plaintiff. Once the necessary information is disclosed
Plaintiff will be in a position to provide a written settlement demand.
       Defendant’s position: Not applicable.
3.     Please provide the court with any additional information that would assist in setting a
       timeline for required mediation.
RESPONSE: None.
    9:20-cv-00376-RMG            Date Filed 09/16/20   Entry Number 30      Page 4 of 4




Signatures                                      Party Represented

/s/ Margaret A. Collins, Esq.                   Plaintiff Henna Cardenas


/s/ S. Harrison Williams, Esq.                  Defendants Resort Sales by Spinnaker, Inc.
                                                and Resort Sales Missouri, Inc.
